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FLN (Rev. 4/2004) Deficiency Order                                                             Page 1 of 1


                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF FLORIDA
                                         PENSACOLA DIVISION

THOMAS STALLWORTH, ET AL

          vs                                            Case No. 3:06cv89/MCR/EMT

THE HARTFORD INSURANCE
COMPANY, ET AL



                                                ORDER

DEFENDANT THE HARTFORD INSURANCE COMPANY’S MOTION FOR PHYSICAL
EXAMINATION OF PERSONS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE
35(a) (Doc. 61), filed on February 12, 2007, was referred to the undersigned with the following
deficiency:

          Counsel for the moving party, or a party who proceeds pro se, must confer with
          counsel for the opposing party [or with a party who proceeds pro se] and shall file
          with the court, at the time of filing a motion, a statement certifying that counsel or
          the pro se party has conferred with counsel for the opposing party [or with a party
          who proceeds pro se] in a good-faith effort to resolve by agreement the issues raised
          or has attempted to so confer but, for good cause stated, was unsuccessful. Rule
          7.1(B) of the Local Rules of the Northern District of Florida.

For this reason, it is ORDERED:

          The document shall remain in the electronic file, but the court will not consider it
          until the above-noted deficiency has been corrected through the filing of an amended
          document.

DONE AND ORDERED this 14th day of February 2007.



                                                 /s/ Elizabeth M. Timothy
                                                 ELIZABETH M. TIMOTHY
                                                 UNITED STATES MAGISTRATE JUDGE
